             Case 2:10-mj-00523-JPD          Document 9       Filed 12/30/10     Page 1 of 2




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 6                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 7                                         AT SEATTLE

 8 UNITED STATES OF AMERICA,                          )
                                                      )
 9                                       Plaintiff,   )    Case No. MJ10-523
                                                      )
10                          v.                        )    DETENTION ORDER
                                                      )
11 CLAUDIU TUDOR,                                     )
                                                      )
12                                    Defendant.      )

13 Offense charged:

14       Fraud in Connection with Access Devices.

15 Date of Detention Hearing: December 30, 2010.

16       The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which the defendant can meet will reasonably

19 assure the appearance of the defendant as required and the safety of any other person and the

20 community.

21           FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22       The Court finds that the defendant poses a serious risk of flight. He is from Romania, still

23 has relatives there and spent a number of months in that country within the last year. He initially



     DETENTION ORDER - 1
               Case 2:10-mj-00523-JPD         Document 9        Filed 12/30/10      Page 2 of 2




 1 denied having travel documents but it is now known that he has at least one passport that was

 2 obtained this year. He was ordered to turn that passport in by King County Superior Court in a

 3 pending criminal matter one month ago but has failed to do so.

 4       It is therefore ORDERED:

 5       (1)        Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 7 from persons awaiting or serving sentences, or being held in custody pending appeal;

 8       (2)        Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10       (3)        On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined

12 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

13 connection with a court proceeding; and

14       (4)        The clerk shall direct copies of this order to counsel for the United States, to

15 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

16 Officer.

17       DATED this 30th day of December, 2010.

18

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20
                                                           A
                                                           BRIAN A. TSUCHIDA
                                                           United States Magistrate Judge
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     DETENTION ORDER - 2
